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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                   CRIMINAL MINUTES

Date: June 23, 2015            Time in Court: 8 Minutes     Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1    Case Name: UNITED STATES v. Douglas Stroms York

Attorney for Plaintiff: Brianna Penna
Attorney for Defendant: Graham Archer

 Deputy Clerk: Tiffany Salinas-Harwell             Court Reporter: Summer Fisher
                                                   9:03 – 9:11
 Interpreter: n/a                                  Probation Officer: n/a


                                       PROCEEDINGS


Counsel for Plaintiff and Defendant are Present.
Defendant is Present Out-of-Custody.

Case Remains as Currently Set.



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                                                                              June 23, 2015



                                                                    Tiffany Salinas-Harwell
                                                          Courtroom Deputy to the Honorable
                                                                      Beth Labson Freeman
